      Case 3:21-cv-03341-EMC Document 125 Filed 03/14/22 Page 1 of 4




 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
     Morgan W. Tovey (Bar No. 136242)
 2   morgantovey@quinnemanuel.com
   50 California Street, 22nd Floor
 3 San Francisco, California 94111
   Telephone:     (415) 875-6600
 4 Facsimile:     (415) 875-6700

 5   Ryan Landes (Bar No. 252642)
     ryanlandes@quinnemanuel.com
 6   Dakota S. Speas (Bar No. 323853)
     dakotaspeas@quinnemanuel.com
 7 865 South Figueroa Street, 10th Floor
   Los Angeles, California 90017-2543
 8 Telephone:     (213) 443-3000
   Facsimile:     (213) 443-3100
 9
   Attorneys for Plaintiff Nextdoor, Inc.
10
   [Counsel for Defendants included on signature
11 page]

12                                UNITED STATES DISTRICT COURT

13               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

14

15 NEXTDOOR, INC.,                                 Case No. 3:21-cv-03341-EMC

16                  Plaintiff,                     STIPULATION TO CONTINUE TRIAL
                                                   DATE AND TO ENLARGE PRETRIAL
17         vs.                                     DEADLINES

18 420 TAYLOR VENTURES, LLC, NT 420                The Hon. Edward M. Chen
   TAYLOR OWNER LLC, NH 420 TAYLOR
19 OWNER LLC, 420 TAYLOR HOLDINGS                  Current Trial Date: October 31, 2022
   OWNER LLC, SEVEN EQUITY GROUP,                  Proposed Trial Date: December 12, 2022
20 LLC, and DOES 1-50,

21                  Defendants.

22

23

24

25

26
27

28

                                                                      Case No. 3:21-cv-03341-EMC
                       STIPULATION TO CONTINUE TRIAL DATE AND TO ENLARGE PRETRIAL DEADLINES
            Case 3:21-cv-03341-EMC Document 125 Filed 03/14/22 Page 2 of 4




 1                 Pursuant to Northern District of California Local Rule 7-12, Plaintiff Nextdoor, Inc.

 2 (“Nextdoor”) and Defendants 420 Taylor Ventures, LLC, NT 420 Taylor Owner LLC, NH 420

 3 Taylor Owner LLC, 420 Taylor Holdings Owner LLC, and Seven Equity Group, LLC

 4 (“Defendants”), by and through their respective counsel, hereby stipulate and request an order as

 5 follows:

 6                 WHEREAS, pursuant to the operative Case Management and Pretrial Order for Jury Trial

 7 for this case (ECF 112), a four-day trial is currently scheduled to begin on October 31, 2022 at

 8 8:30 a.m.;

 9                 WHEREAS, the current pretrial deadlines in this case are as follows:

10         Event                                              Deadline

11         Non-expert discovery cut-off                       April 14, 2022

12         Opening expert reports                             April 14, 2022

13         Rebuttal expert reports                            May 5, 2022

14         Expert discovery cut-off                           May 26, 2022

15         Further status conference                          June 14, 2022

16         Last day to file dispositive motions               June 23, 2022

17         Last day to hear dispositive motions               July 28, 2022

18         Final pretrial conference                          October 4, 2022 at 2:30 p.m.

19

20                 WHEREAS, on March 1, 2022, the Parties participated in a remote settlement conference

21 with Magistrate Judge Sallie Kim;

22                 WHEREAS, Magistrate Judge Kim continued the settlement conference on March 1 and

23 directed the Parties to meet in-person for a further settlement conference on April 5, 2022;

24                 WHEREAS, the Parties remain open to pursuing an informal resolution of this case and

25 desire to avoid unnecessary expenditures of fees and costs in the interim;

26                 WHEREAS, there has been one prior stipulation to continue the trial date and to enlarge
27 the pretrial deadlines in this case in order to accommodate ongoing settlement discussions;

28

                                                       -2-                   Case No. 3:21-cv-03341-EMC
     AND
                              STIPULATION TO CONTINUE TRIAL DATE AND TO ENLARGE PRETRIAL DEADLINES
            Case 3:21-cv-03341-EMC Document 125 Filed 03/14/22 Page 3 of 4




 1                 WHEREAS, this stipulated request to continue the trial date and to enlarge the pretrial

 2 datelines in this case is sought in good faith and not for purposes of delay;

 3                 NOW, THEREFORE, the Parties hereby stipulate and agree, and respectfully request that

 4 trial be continued from October 31, 2022 at 8:30 a.m. to December 12, 2022 at 8:30 a.m., or as

 5 soon thereafter as the Court deems possible, and that the Court issue an amended Case

 6 Management and Pretrial Order for Jury Trial enlarging the pretrial deadlines as follows:

 7         Event                            Current Deadline                   Proposed Deadline

 8         Non-expert discovery cut-off     April 14, 2022                     May 26, 2022

 9         Opening expert reports           April 14, 2022                     May 26, 2022

10         Rebuttal expert reports          May 5, 2022                        June 16, 2022

11         Expert discovery cut-off         May 26, 2022                       July 7, 2022

12         Further status conference        June 14, 2022                      July 26, 2022

13         Last day to file dispositive     June 23, 2022                      August 4, 2022

14         motions

15         Last day to hear dispositive     July 28, 2022                      September 8, 2022

16         motions

17         Final pretrial conference        October 4, 2022 at 2:30 p.m.       November 15, 2022 at 2:30

18                                                                             p.m.

19

20                 A proposed order is submitted herewith.

21                 IT IS SO STIPULATED.

22 DATED: March 14, 2022                               QUINN EMANUEL URQUHART &
                                                       SULLIVAN, LLP
23

24

25                                                      By          /s/ Morgan W. Tovey
                                                             MORGAN W. TOVEY
26                                                           Attorneys for Plaintiff Nextdoor, Inc.
27

28

                                                       -3-                   Case No. 3:21-cv-03341-EMC
     AND
                              STIPULATION TO CONTINUE TRIAL DATE AND TO ENLARGE PRETRIAL DEADLINES
           Case 3:21-cv-03341-EMC Document 125 Filed 03/14/22 Page 4 of 4




 1 DATED: March 14, 2022                           FOLEY & LARDNER LLP

 2

 3
                                                    By          /s/ Lewis Zirogiannis
 4                                                       LEWIS ZIROGIANNIS
                                                         Attorneys for Defendants 420 Taylor Ventures,
 5                                                       LLC, NT 420 Taylor Owner LLC, NH 420 Taylor
                                                         Owner LLC, 420 Taylor Holdings Owner LLC,
 6
                                                         and Seven Equity Group, LLC
 7

 8                                        FILER’S ATTESTATION

 9            Pursuant to Local Rule 5-1(h)(3), I hereby attest that concurrence in the filing of this

10 document has been obtained from all signatories hereto.

11            Dated: March 14, 2022                                 _/s/ Morgan W. Tovey_______

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                  -4-                   Case No. 3:21-cv-03341-EMC
     AND
                         STIPULATION TO CONTINUE TRIAL DATE AND TO ENLARGE PRETRIAL DEADLINES
